UNITED SPATES DISTRICT COURP
SOUTHERN DISTRICT OF NEW YORK

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DONOGHUE, et al., :
Plaintiffs, :
—VR : 23cv/772 (DLC)
NEXTNAV, INC., et al., I ORDER
Defendants. :
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DENISE COTE, District Judge:

As set forth at the telephonic pretrial conference held

pursuant to Rule 16, Fed. R. Civ. P., on January 26, 2024, the
following schedule shall govern the further conduct of pretrial
proceedings in this case:

1.

The parties shall comply with their Rule 26(a) (1), Fed. R.
Civ. P., initial disclosure obligations by February 9,
2024,

No additional parties may be joined or pleadings amended
after February 16, 2024,

This case will be referred to mediation to occur in March
2024, The Clerk of Court will contact the parties when a

mediator has been selected.

Initial interrogatories and Requests pursuant to Rule 34,
Fed. R. Civ. P., may not be served after February 16, 2024.

Any depositions must occur by April 19, 2024.

Any party seeking expert discovery shall submit a letter by
April 19, 2024 proposing a schedule for expert discovery.

The following motion will be served by the dates indicated
below.

Any motion for summary judgment:
- Motion served by May 17, 2024

- Opposition served by June 7, 2024
- Reply served by June 21, 2024

At the time any reply is filed, the moving party shall
supply Chambers with two (2) courtesy copies of all motion
papers by mailing or delivering them to the United States
Courthouse, 500 Pearl Street, New York, New York.

8. In the event no motion is filed, the Joint Pretrial Order
must be filed by May 17, 2024.

As described in greater detail in this Court’s Individual
Practices in Civil Cases, the following documents must be
filed with the Pretrial Order: Voir Dire, Requests to
Charge and a Memorandum of Law addressing all questions of
law expected to arise at trial. Any responsive papers are
due one week thereafter. In the event a party does not
file a Memorandum of Law, a responsive Memorandum of Law is
not permitted.

SO ORDERED:

Dated: New York, New York
January 26, 2024

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DENISE COTE
United States District Judge

